Case 2:20-cv-02176-TLP-cgc Document 1 Filed 03/10/20 Page1lofi2 PagelID1

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION
JUANITA JOHNSON
and ALL SIMILARLY SITUATED EMPLOYEES,
Plaintiff,
Vv. NO.
JURY DEMAND
SMITH & NEPHEW, INC.
d/b/a SMITH & NEPHEW

and d/b/a SMITH & NEPHEW, PLC.

Defendant.

 

COMPLAINT FOR VIOLATION OF THE FAIR LABOR STANDARDS ACT

 

COMES NOW, Juanita Johnson and All Similarly Situated Employees (“Plaintiff”) and
files this Complaint for Violation of the Fair Labor Standards Act (“FLSA”) against Smith &
Nephew, Inc. d/b/a Smith & Nephew and d/b/a Smith & Nephew, PLC. (“Defendant”) and in
support thereof would state as follows:

INTRODUCTORY STATEMENT

1. Plaintiff, Juanita Johnson, is a female citizen of the United States and seeks
redress for unpaid wages and overtime due to her, under the Constitution and laws of the United
States, in her capacity as employee with the Defendant. Specifically, Plaintiff alleges that
Defendant did not pay all overtime owed. Plaintiff seeks unpaid wages and overtime. Further,

Plaintiff seeks all other damages available to her.
Case 2:20-cv-02176-TLP-cgc Document1 Filed 03/10/20 Page 2o0f12 PagelD 2

PARTIES

2. Plaintiff, Juanita Johnson, is a female citizen of the United States and at all times
material hereto has been a resident of Walls, Desoto County, Mississippi who worked at
Defendant’s distribution center in Memphis, Shelby County, Tennessee.

3 Defendant, Smith & Nephew, Inc., is a for profit Delaware corporation with its
principle place of business in Memphis, Tennessee. The registered agent for service of process of
Smith & Nephew is CT Corporation Systems, 300 Montvue Rd., Knoxville, TN 37919-5546.

JURISDICTION AND VENUE

4, This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and 28
U.S.C. § 1343(a)(4) inasmuch as the Plaintiff's claims raise a substantial federal question
pursuant to 29 U.S.C.A. § 216(b), 29 U.S.C.A. § 218c(a), and other provisions of the Fair Labor
Standards Act (“FLSA”) of 1938. Jurisdiction is conferred on this Court by 29 U.S.C. §§ 207,
216, and 28 U.S.C.A. § 1337 in that this cause of action presents a question of federal law and
this matter involves a statute addressing interstate commerce.

5. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(c) and Local Rule LR
3.3(b).

FACTUAL ALLEGATIONS

6. On February 29, 2016, Plaintiff was hired by Defendant to work as an

International Shipping Specialist (“ISP”), exporting medical devices, developed by Defendant, to

foreign countries.
Case 2:20-cv-02176-TLP-cgc Document 1 Filed 03/10/20 Page 3of12 PagelD 3

7. As part of Plaintiffs job as an ISP, she is responsible for customer service,
scheduling pick-ups, informing clients products have shipped, creating orders requested by
customers, and managing file folders for shipments.

8. When Plaintiff started in 2016, there were eight ISP working in her department.
Nevertheless, even with eight ISPs, it was difficult to handle all of the job functions and duties,
given the volume of orders, during the authorized eight-hour shift.

9. On many days, Plaintiff and her similarly situated co-workers, would not be able
to complete their job tasks during the authorized eight-hour shift and some would come in early,
work though their lunch break, and work after hours to catch up on the file folders,

10. Company policy dictated that there be at least 7 members in Plaintiffs
department. However, during much of the time there were only 5-6 members. Thus, Plaintiff's
department was understaffed.

11. Upon information and belief, during much of the time at issue in this case,
Plaintiff and similarly situated coworkers had a high volume of shipments and because the
department was understaffed this led to a frequent backlog of managing file folders.

12. Shipments took priority over managing file folders even though managing the file
folders was still part of the required tasks it was Defendant’s policy not to pay Plaintiff and her
similarly situated coworkers for working overtime hours when managing the file folders. See
Plaintiff's Exhibit A.

13. On other occasions, Plaintiff, and her similarly situated coworkers, worked

through their lunch breaks because they needed to process shipments and/or work on file folders.
Case 2:20-cv-02176-TLP-cgc Document1 Filed 03/10/20 Page 4of12 PagelD4

14. _ A large portion of the time, Plaintiff, and her similarly situated coworkers, came
in early, worked through their lunch breaks, and worked late but were not paid for the extra time
worked, as was Defendant’s policy. See Plaintiff's Exhibit B.

15. — Also, on occasion, Plaintiff and her similarly situated coworkers worked after
hours for training and were not paid for those hours either.

16. On at least two instance Defendant intentionally deducted overtime that Plaintiff
had worked. See Plaintiff's Collective Exhibit C.

17. In failing to pay Plaintiff and her similarly situated coworkers for overtime
worked, Defendant violated the FLSA.

18. At all times set forth herein, Defendant was engaged in commerce within the
meaning of the FLSA through their business of providing medical devices to both national and
international customers.

19. ISPs, such as Plaintiff, are not professionals as that term is defined in 29 C.F.R §
541.300(a). Plaintiff is not an executive as that term is defined in 29 C.F.R. § 541.100 because
she never managed any employees and she was paid on an hourly basis. Also, in performing her
primary duties, Plaintiff did not exercise discretion or independent judgment such that she would
be considered an exempt administrative employee as that term is defined by 29 C.F.R. §
541.200(a).

20. __ Plaintiff is a non-exempt employee because she does not fall under any exemption
contemplated by the FLSA.

21. Defendant’s staffing and management practices and policies and the work volume
Case 2:20-cv-02176-TLP-cgc Document 1 Filed 03/10/20 Page5of12 PagelID5

necessitated Plaintiff and her similarly situated coworkers working through meal breaks, going in
early, and leaving late so that all the work would get done.

22. Pursuant to 29 U.S.C. §§ 207, 216, there is due and owing from Defendant, to
Plaintiff, compensation for unpaid wages and overtime, plus an additional equal amount as
liquidated damages together with an additional sum due for reasonable attorney fees.

CAUSES OF ACTION

23. Plaintiff charges, avers, and brings the following causes of action against
Defendant: Plaintiff brings this action pursuant to the Fair Labor Standards Act 29 U.S.C.A §
201 et seq., for failing to pay Plaintiff her proper rate of pay, by failing to properly pay Plaintiff
for all hours worked, for failing to properly pay Plaintiff for overtime pay for all hours worked

over forty (40) hours per week.

DAMAGES
24. Plaintiff seeks compensatory damages including unpaid overtime and lost wages.
25. Plaintiff seeks liquidated damages to deter and prevent the intentional and

reprehensible employment practices undertaken by Defendant, with reckless disregard to
Plaintiffs federally protected rights.

WHEREFORE, Plaintiff prays that this Court require Defendant to appear and answer
the Complaint; that Plaintiff be awarded all damages to include back pay and front pay that are
available to her under the law; that Plaintiff be awarded liquidated damages plus her attorneys’
fees, costs, pre- and post-judgment interest, and all other relief to which she may be entitled at

law and equity.
Case 2:20-cv-02176-TLP-cgc Document 1 Filed 03/10/20 Page 6of12 PagelD6

PLAINTIFF DEMANDS TRIAL BY JURY

BY:

Respectfully submitted,

ESKINS KING & MARNEY, PC

s/ James E. King, Jr.

JAMES E. KING, JR. (#21219)
ERIC E. LINDQUESTER (#35229)
200 Jefferson Ave., Suite 1510
Memphis, Tennessee 38103
(901)578-6902
jking@eskinsking.com
elindquester@eskinsking.com
_ Case 2:20-cv-02176-TLP-cgc Document1 Filed 03/10/20 Page 7of12 PagelD 7

Johnson, Juanita

 

 

ABER a AES
From: Saulsberry, Tesha
Sent: Thursday, August 30, 2018 10:40 AM
Ta: Traffic
Subject: Operations for Friday, 8/31
importance: High

Hallo Ladies-

Please be advised that an idea was brought ta my attention on yesterday (thank you Jean) and | have agreed to approve.
i will allow a ONE TIME OPPORTUNITY to come in and be paid for completing file folders on tomorrow, 8/31. This will
only be for 4 hours. This should be a reasonable amount of tirne to get caught up seeing that this will be the only thing

you have te focus on. Therefore this means you can gain back 4 PTO hours.

As you are FULLY aware, the filing process is just as much a part of your daily tasks and always should be addressed as
such. However, | am aware of the challenges so {'m open to being flexible in this case.

Let me be perfectly CLEAR, this is a ONE TIME EXCEPTION. You should NOT get comfortable with this arrangement.

This is not mandatory, so if you choose to take the full day and you are ok with your filing and you want to enjoy an
extended holiday, i am ok with that.

if you want/need to do this, please go into Workday and revise your time off request.

Please make sure you keep a copy of this email so we don’t have to drive down the road of what one didn’t know as it
relates to this arrangement.

if any questions, let me know.

Tesha

 

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Case 2:20-cv-02176-TLP-cgc Document1 Filed 03/10/20 Page 8of1i2 PagelD8

 

From: Saulsberry, Tesha

Sent: Wednesday, January 30, 2019 10:11 AM
To: Traffic

Subject: Staff meeting follow up

Importance: High

Ladies-

Thank you all again for the support and feedback from Monday’s meeting. It was a very productive meeting. | mainly
appreciate the fact that it sparked conversation amongst the team that | would like to see continue.

Since the meeting, | realized that there were a couple of things that | failed to mention; some things brought to my
attention by team members; and some new things that will be coming as we strive for continuous improvement. See
below for the updates inciusive of deadline for discussed follow up items. Aiso, | will plan to have the meeting minutes
to you by or before the end of next week.

@ Export Shipping (Ortho): there is opportunity for process improvement (I know you say “again”, but | think this
one will finally get us where we need to be). To be discussed 2-11

e Export Shipping (Endo): details to come; still under review and final decision making (possible combining)

e Error tracker: all will receive a quarterly report along with rating from quarterly process review (in addition there
will be a new overall tracking system for these ratings implemented by the end Q2 to start in Q3; this is to
ensure fair assessment to all while considering all factors..details to come)

e Record retention process: | would like to hear the final decision on 2-11 and | encourage everyone to provide
input and play the devil’s advocate where needed because this process will impact each and every one’s of your
assessment ratings :

| know it seems like a lot to keep up with right now, but once it all is up and running it will become second nature just
like everything you do now. | don’t want anyone to feel overwhelmed or discouraged. We are taking these change steps
together as a team, myself included. If you begin to, just breathe and/or come to me and let’s discuss it.

REMINDERS: 1) Objectives are to be entered into the system by EOB tomorrow. 2) You are HIGHLY encouraged to take
your breaks and lunch for no other reason than mental relaxation. It comes out of your daily payroll regardless so if you
choose to not take it that is your decision. So | guess what I’m saying is in 2019 and going forward, let’s bury this
convenient attaché because it is a “dog that is no longer hunting”.

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2@ smith&nephew

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EXHIBIT

: B

 
Case 2:20-cv-02176-TLP-cgc Document1 Filed 03/10/20 Page 9of12 PagelD9

Johnson, Juanita

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From: Saulsberry, Tesha

Sent: Sunday, -December 09, 2018 6:28 PM

To: Johnson, Juanita
Subject: RE: I stayed 30 minutes to work on my file folders
Juanita-

As you are aware there is no overtime for filing. | will be changing your time back 30 minutes.
Tesha

 

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From: Johnson, Juanita
- Sent: Friday, December 07, 2018 10:42 PM
Yo: Saulsberry, Tesha
Subject: I stayed 30 minutes to work.on my file folders

Tesha,
| stayed 30 minutes to work on my file folders

  

Juanita Johnson / International Shipping Specialist / Giob
Global Distribution Center, Memphis, TN

Juanita. Johnson@smith-nephew.com

D: 907-399-1240 :

F: 901-399-6380

wnana.smith-nephew.com

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EXHIBIT

Gal

 
Case 2:20-cv-02176-TLP-cgc Document1 Filed 03/10/20 Page 100f12 PagelD 10

Johnson, Juanita

 

ERSTE aay
: ‘rom: Saulsberry, Tesha
Sent: Wednesday, May 29, 2019 4:38 PM
To: Johnson, Juanita
Subject: RE: OT explanation I worked on my file folders

Information received; this does not qualify for approved OT.

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From: Johnson, Juanita
Sent: Wednesday, May 29, 2019 4:25 PM

To: Saulsberry, Tesha
Subject: RE: OT explanation I worked on my file folders

1. As you know, there is no OT for working on files—i wasn’t working on my files at 6.

2. You didn’t address the question about the time gap with shipment 14306- Yes, | did- | stated working on my
files.

3. lam not sure of how lunch has a bearing since you only processed three shipments the entire day; please
clarify- Because sometime | may not get to take a lunch, due to short-staffed situation.

Thanks.

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24 smith&nephew

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onals for over 150 Yeas

 

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Case 2:20-cv-02176-TLP-cgc Document 1 Filed 03/10/20 Page 11of12 PagelD 11

>From: Saulsberry, Tesha <Tesha.Saulsberry@smith-nephew.com>

I

3ent: Wednesday, May 29, 2019 4:10 PM
To: Johnson, Juanita <Juanita Johnson@smith-nephew.com>
Subject: RE: OT explanation | worked on my file folders

Juanita-
This is confusing to me.

1. As you know, there is no OT for working on files

2. You didn’t address the question about the time gap with shipment 14306

3. | am not sure of how lunch has a bearing since you only processed three shipments the entire day; please clarify
Thanks.

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From: Johnson, Juanita
Sent: Wednesday, May 29, 2019 3:34 PM

~"¥o: Saulsberry, Tesha

( __.subject: RE: OT explanation I worked on my file folders

Tesha,
i worked on my file folders, since time permitted an opporiunity for me to utilize the time accordingly and | took a iunch.

Thanks,

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#q Smtnane

pay bey

 
  

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fF

aett BSED ic iy,
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From: Saulsberry, Tesha <Tesha.Saulsberry@smith-nephew.com>
_ Sent: Tuesday, May 28, 2019 6:36 PM
Case 2:20-cv-02176-TLP-cgc Document 1 Filed 03/10/20 Page 12o0f12 PagelD 12

To: Johnson, Juanita <Juanita. Johnson@smith-nephew.com>
Subject: OT explanation
a “‘uanita-
Please explain OT when there was only 3 shipments processed today inclusive of shipment 14306 in at 1p but pre-alert
not until after 6p.
Thanks

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